Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 1 of 9




                            UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

  STEWART ABRAMSON, individually
  and on behalf of a class of all persons and
  entities similarly situated,

                 Plaintiff,

  vs.                                                         Case No. 20-cv-62325

  SIMPLE HOME 360 INC. and
  SAFE STREETS USA LLC

                Defendants.

                       FIRST AMENDED CLASS ACTION COMPLAINT

                                       Preliminary Statement

         1.      As the Supreme Court recently explained, “Americans passionately disagree

  about many things. But they are largely united in their disdain for robocalls. The Federal

  Government receives a staggering number of complaints about robocalls—3.7 million

  complaints in 2019 alone. The States likewise field a constant barrage of complaints. For nearly

  30 years, the people’s representatives in Congress have been fighting back. As relevant here, the

  Telephone Consumer Protection Act of 1991, known as the TCPA, generally prohibits robocalls

  to cell phones and home phones.” Barr v. Am. Ass'n of Political Consultants, No. 19-631, 2020

  U.S. LEXIS 3544, at *5 (July 6, 2020).

         2.      Plaintiff Stewart Abramson brings this action under the TCPA alleging that

  Defendant Simple Home 360 Inc. (“Simple Home 360” or “Defendant”) sent him a pre-recorded

  telemarketing call for purposes of promoting Safe Streets USA LLC’s home security services

  without his prior express written consent.




                                                  1
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 2 of 9




          3.      Because these calls were transmitted using technology capable of generating

  thousands of similar calls per day, he sues on behalf of a proposed nationwide class of other

  persons who received similar calls.

          4.      A class action is the best means of obtaining redress for the Defendants’ illegal

  telemarketing and is consistent both with the private right of action afforded by the TCPA and

  the fairness and efficiency goals of Rule 23 of the Federal Rules of Civil Procedure.



                                                Parties

          5.      Plaintiff Stewart Abramson resides in Pennsylvania.

          6.      Defendant Simple Home 360 Inc. is a Florida corporation with its principal place

  of business in this District.

          7.      Defendant Safe Streets USA LLC is a Delaware limited liability company with its

  principal place of business in Gaynor, NC.

                                         Jurisdiction & Venue

          8.      The Court has federal question jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

  § 227 et seq.

          9.      Venue is proper under 28 U.S.C. § 1391(b)(2) because the telemarketing calls at

  issue were sent from this District.

                                        Statutory Background

  THE TCPA

          10.     In 1991, Congress enacted the TCPA to regulate the explosive growth of the

  telemarketing industry. In so doing, Congress recognized that “[u]nrestricted telemarketing . . .

  can be an intrusive invasion of privacy[.]” Telephone Consumer Protection Act of 1991, Pub. L.



                                                   2
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 3 of 9




  No. 102-243, § 2(5) (1991) (codified at 47 U.S.C. § 227).

         11.     The TCPA makes it unlawful to make pre-recorded telemarketing calls to the

  residential line of the call recipient without the call recipient’s prior express written consent. See

  47 U.S.C. § 227(b).

         12.     These calls are prohibited because, as Congress found, automated or prerecorded

  telephone calls are a greater nuisance and invasion of privacy than live solicitation calls and can

  be costly and inconvenient.

                                          Factual Allegations

         13.     Safe Streets offers home alarm services for ADT.

         14.     However, Safe Street’s contact with the general public is limited, and it instead

  relies on a series of calling companies, such as Simple Home.

         15.     To increase its sales, and as part of a general cold-call based marketing scheme,

  Simple Home markets ADT’s services for Safe Streets using pre-recorded voice calls to

  consumers.

         16.     Plaintiff Abramson is a “person” as defined by 47 U.S.C. § 153(39).

         17.     Simple Home 360 is in the home security marketing business.

         18.     To generate new customers, Simple Home 360 relies on telemarketing.

         19.     The telemarketing that Simple Home 360 engages in includes the use of pre-

  recorded messages.

         20.     Mr. Abramson’s number, 412-362-XXXX, is his residential telephone number.

         21.     There is no business associated with that number.

         22.     That number is only used for personal calls by Mr. Abramson.




                                                    3
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 4 of 9




          23.    On October 19, 2020, the Plaintiff received a pre-recorded message call from the

  Defendant.

          24.    The message advertised home security, but did not fully identify the company that

  was calling.

          25.    To identify the company, the Plaintiff engaged in the telemarketing solicitation.

          26.    Mr. Abramson eventually spoke with an individual who identified himself as an

  employee of Simple Home 360.

          27.    The agent who identified himself to Mr. Abramson as an employee of Simple

  Home 360 then did a three-way live transfer of the call to an agent who identified himself as an

  employee of Safe Streets USA.

          28.    Mr. Abramson subsequently verified the involvement of both Simple Home 360

  and Safe Streets USA in the telemarketing call that he received, by calling each of those parties

  directly.

          29.    Mr. Abramson, and others who received these calls, were temporarily deprived of

  legitimate use of their phones and their privacy was invaded.

                        Safe Street’s Liability for Simple Home’s Conduct

          30.    For more than twenty years, the FCC has explained that its “rules generally

  establish that the party on whose behalf a solicitation is made bears ultimate responsibility for

  any violations.” In re Rules & Regulations Implementing the TCPA, CC Docket No. 92-90,

  Memorandum Opinion and Order, 10 FCC Rcd 12391, 12397 (¶ 13) (1995).

          31.    In its January 4, 2008 ruling, the FCC likewise held that a company on whose

  behalf a telephone call is made bears the responsibility for any violations. Id. (specifically




                                                   4
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 5 of 9




  recognizing “on behalf of” liability in the context of an autodialed or prerecorded message call

  sent to a consumer by a third party on another entity’s behalf under 47 U.S.C. § 227(b)).

         32.     In fact, the Federal Communication Commission has instructed that sellers such

  as Safe Streets may not avoid liability by outsourcing telemarketing to third parties, such as

  Simple Home:

        [A]llowing the seller to avoid potential liability by outsourcing its telemarketing
        activities to unsupervised third parties would leave consumers in many cases
        without an effective remedy for telemarketing intrusions. This would particularly
        be so if the telemarketers were judgment proof, unidentifiable, or located outside
        the United States, as is often the case. Even where third-party telemarketers are
        identifiable, solvent, and amenable to judgment limiting liability to the telemarketer
        that physically places the call would make enforcement in many cases substantially
        more expensive and less efficient, since consumers (or law enforcement agencies)
        would be required to sue each marketer separately in order to obtain effective relief.
        As the FTC noted, because “[s]ellers may have thousands of ‘independent’
        marketers, suing one or a few of them is unlikely to make a substantive difference
        for consumer privacy.”
  May 2013 FCC Ruling, 28 FCC Rcd at 6588 (¶ 37) (internal citations omitted).

         33.     On May 9, 2013, the FCC released a Declaratory Ruling holding that a

  corporation or other entity that contracts out its telephone marketing “may be held vicariously

  liable under federal common law principles of agency for violations of either section 227(b) or

  section 227(c) that are committed by third-party telemarketers.” 1

         34.     Safe Streets is liable for Simple Home conduct because it controls the manner and

  means of its telemarketing methods by:

                  a)      acquiescing to their business mode of using a call center;

                  b)      advising them that they could use third parties to assist in the

                          telemarketing;




  1
      In re Joint Petition Filed by DISH Network, LLC et al. for Declaratory Ruling Concerning
      the TCPA Rules, 28 FCC Rcd 6574, 6574 (¶ 1) (2013) (“May 2013 FCC Ruling”).
                                                   5
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 6 of 9




                  c)      requiring that Safe Streets approve all scripting of telemarketing work;

                  d)      instructing them on the geographic regions they can make calls into; and

                  e)      providing qualifications for ADT customers to be sent to Safe Streets.

         35.     Safe Streets knew (or reasonably should have known) that Simple Home was

  violating the TCPA on its behalf and failed to take effective steps within its power to force the

  telemarketer to cease that conduct.

         36.     Any reasonable seller that accepts telemarketing call leads from lead generators

  would, and indeed must, investigate to ensure that those calls were made in compliance with

  TCPA rules and regulations.

         37.     Indeed, Safe Streets has previously been sued for the telemarketing conduct of its

  vendors.

         38.     Finally, the May 2013 FCC Ruling states that called parties may obtain “evidence

  of these kinds of relationships . . . through discovery, if they are not independently privy to such

  information.” Id. at 6592-593 (¶ 46). Evidence of circumstances pointing to apparent authority

  on behalf of the telemarketer “should be sufficient to place upon the seller the burden of

  demonstrating that a reasonable consumer would not sensibly assume that the telemarketer was

  acting as the seller’s authorized agent.” Id. at 6593 (¶ 46).

                                        Class Action Allegations

         39.     As authorized by Rule 23(b)(2) and/or (b)(3) of the Federal Rules of Civil

  Procedure, Plaintiff sues on behalf of other persons or entities throughout the United States.

         40.     The proposed class are tentatively defined as:

         Plaintiff and all persons within the United States: (1) to whose residential telephone
         number Defendant, or a third party on their behalf, placed a telemarketing call (2) for
         Safe Streets (3) within the four years prior to the filing of the Complaint (4) using the



                                                    6
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 7 of 9




          same or substantially similar pre-recorded message used to place telephone calls to
          Plaintiff.

          41.     The Plaintiff is a member of the class.

          42.     Excluded from the class are the Defendants, any entities in which the Defendants

  have a controlling interest, the Defendants’ agents and employees, any Judge to whom this action

  is assigned, and any member of the Judge’s staff and immediate family.

          43.     Class members are identifiable through phone records and phone number

  databases that will be obtained through discovery.

          44.     Based on the automated nature of telemarketing campaigns, there are likely

  thousands of class members. Individual joinder of these persons is impracticable.

          45.     There are questions of law and fact common to Plaintiff and the proposed class,

  including:

                  a.    Whether Simple Home used a pre-recorded message to send telemarketing

                        calls;

                  b.    Whether Safe Streets is vicariously liable for the conduct of Simple Home;

                  c.    Whether the Defendants placed telemarketing calls without obtaining the

                        recipients’ valid prior express written consent; and

                  d.    Whether the Plaintiff and the class members are entitled to statutory

                        damages because of the Defendants’ actions.

          46.     Plaintiff’s claims are based on the same facts and legal theories as class members,

  and therefore are typical of the class members’ claims.

          47.     Plaintiff is an adequate representative of the class because his interests do not

  conflict with the interests of the class, he will fairly and adequately protect the interests of the

  class and he is represented by counsel skilled and experienced in litigating TCPA class actions.

                                                     7
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 8 of 9




            48.    The Defendants’ actions are applicable to the class and to Plaintiff.

            49.    Common questions of law and fact predominate over questions affecting only

  individual class members, and a class action is the superior method for fair and efficient

  adjudication of the controversy. The only individual question concerns identification of class

  members, which will be ascertainable from records and databases maintained by Defendants and

  others.

            50.    The likelihood that individual class members will prosecute separate actions is

  remote due to the time and expense necessary to prosecute an individual case, and given the small

  recoveries available through individual actions.

                                                Legal Claims

                                              Count One:
                                  Violation of the TCPA’s provisions
                          prohibiting pre-recorded calls to residential phones

            51.    The Defendants violated the TCPA by initiating a pre-recorded call to Plaintiff’s

  telephone number assigned to the Plaintiff’s residential line without prior express written

  consent, or by the fact that it was done on their behalf.

            52.    The Defendant’s violations were willful or knowing.

            53.    The TCPA also permits injunctive relief, which the Plaintiff and the putative class

  seek by prohibiting the Defendants from using pre-recorded messages, or anyone to do it on their

  behalf, to call individuals, absent an emergency circumstance.

            .
                                                Relief Sought

            Plaintiff requests the following relief:

            A.     That the Court certify the proposed class;

            B.     That the Court appoint Plaintiff as class representative;

                                                       8
Case 0:20-cv-62325-WPD Document 12 Entered on FLSD Docket 01/13/2021 Page 9 of 9




         E.      That the Court appoint the undersigned counsel as counsel for the class;

         F.      That the Court enter a judgment permanently enjoining the Defendants from using

  pre-recorded messages, or anyone to do it on their behalf, to call individuals, absent an

  emergency circumstance.

         G.      That the Court enter a judgment awarding Plaintiff and all class members

  statutory damages of $500 for each violation of the TCPA and $1,500 for each knowing or

  willful violation; and

         H.      That the Plaintiff and all class members be granted other relief as is just and

  equitable under the circumstances.

         Plaintiff requests a jury trial as to all claims of the complaint so triable.




                                                Respectfully Submitted,

                                                Stewart Abramson, individually and on behalf of
                                                those similarly situated individuals

  Dated: January 13, 2021                        /s/ Avi Kaufman
                                                Avi R. Kaufman (FL Bar no. 84382)
                                                kaufman@kaufmanpa.com
                                                Rachel E. Kaufman (FL Bar no. 87406)
                                                rachel@kaufmanpa.com
                                                KAUFMAN P.A.
                                                400 NW 26th Street
                                                Miami, FL 33127
                                                Telephone: (305) 469-5881

                                                Counsel for Plaintiff and the putative class




                                                   9
